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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,                 CR. NO. 11-20468-1
        v.
                                                 HON. ARTHUR J. TARNOW

  BABUBHAI PATEL,

                      Defendant.


        SUPPLEMENTAL BRIEF IN SUPPORT OF MR. PATEL’S PRO SE
       MOTION FOR A REDUCTION IN SENTENCE UNDER 3582(c)(1)(A)

        For the last 17 months, Babubhai Patel has lived at home without incident.

  Nonetheless, it appears likely that Mr. Patel will be sent back to prison – not because

  he violated the rules of his release, or because he committed a new crime, or because

  he poses a danger to society. Rather, Babubhai Patel will be sent back to prison because

  his timing is unlucky: he is four months short of qualifying for expedited commutation

  of his sentence under a new Biden-Harris clemency program. As such, despite his

  success upon release from prison and under supervision of the Detroit halfway house,

  Mr. Patel faces the looming threat of return to prison.

        Mr. Patel respectfully moves this Court for compassionate release pursuant to 18

  U.S.C. § 3582(c)(1)(A) based on several extraordinary and compelling reasons: (i) the

  Bureau of Prisons (“BOP”) transferred Mr. Patel to home confinement pursuant to its


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  authority under the CARES Act, after deciding he was a low-risk offender; (ii) at the

  time of the transfer, the BOP conveyed to Mr. Patel that, if he followed the rules, he

  would complete his sentence on home confinement; (iii) over the past 17 months,

  Mr. Patel has successfully complied with every restriction imposed on him; (iv) because

  of a change in Department of Justice policy earlier this year, the BOP now must return

  Mr. Patel to a correctional facility within 30 days after the pandemic ends; (v) Mr. Patel

  is just four months shy of eligibility for expedited clemency consideration under the

  Biden-Harris program announced this month; and (v) forcing Mr. Patel to return to

  prison would irreparably damage the renewed family, employment, and community ties

  he has built during the past year-and-a-half. After weighing the relevant factors under

  18 U.S.C. § 3553(a), this Court should find that Mr. Patel has already completed a

  sentence that is “sufficient, but not greater than necessary” to satisfy the goals of

  sentencing and reduce his sentence to time served.

     I.      BACKGROUND

          In 2012, a jury found Mr. Patel guilty of eleven counts of healthcare fraud and

  sixteen counts of aiding and abetting distribution of controlled substances. (ECF No.

  720.) On February 1, 2013, the Court sentenced Mr. Patel to 204 months’ incarceration.

  Mr. Patel had been in custody since his arrest on August 2, 2011.




                                              2
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         A.     Mr. Patel has successfully served more than half of a 204-month
                sentence for his non-violent offenses

         Mr. Patel has one blemish on an otherwise impeccable institutional record in the

  BOP. Two months after his arrest, while at the Federal Detention Center (FDC) at

  Milan, Mr. Patel was accused of property destruction by “messing with the computer.”1

  (Exhibit A – Disciplinary History.) Since that incident, he has had no other infractions

  during his decade in the BOP. He worked as an Administrative Orderly and received

  satisfactory work evaluations. (Exhibit B – Progress Report at 1.) The BOP labeled Mr.

  Patel a “minimum” security level. (Exhibit B at 1; Exhibit F – BOP Risk Level.)

         While in BOP custody, Mr. Patel had two thyroid surgeries – one in 2014 and

  one in 2019 -- to remove growing nodules. (Exhibit C – BOP Health Problems, at 1.)

  Pathology reports for these nodules showed “hyperplasia” which is an increase in the

  number of cells in an organ or tissue that is not yet cancer, but is often the initial stage

  in the development of cancer. 2 Id. Mr. Patel was also diagnosed with pre-diabetes

  beginning in 2012, and hyperlipidemia – or high cholesterol –in 2015. Id. at 1-2.

         Mr. Patel has served 122 months of his 204-month sentence. With statutory good

  time credit, he has served approximately 141 months – nearly 70% of his sentence. (See


  1
    This Court held multiple hearings in 2011 about Mr. Patel’s difficulties reviewing
  discovery on the computers at FDC Milan. See ECF Nos. 892, 893. The Court heard
  testimony about broken CD drives on the FDC laptops, and testimony that Mr. Patel
  relied on prison staff to insert and eject all CDs. The Court declined to conclude that
  Mr. Patel had broken computer equipment. ECF No. 893, PageID.5365.
  2
    For a definition of hyperplasia, see the NIH’s National Cancer Institute, Dictionary of
  Cancer Terms (last visited Oct. 5, 2021).

                                               3
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  Exhibit D – Public Data Sheet.) The BOP also projects that Mr. Patel will be eligible

  for release as an elderly offender on December 1, 2022, under its Elderly Offender

  Two-Thirds program. (Exhibit D - Public Data Sheet.) Mr. Patel is currently 59 years

  old. Without any kind of early release, Mr. Patel’s release date is February 8, 2026.

         B.      The BOP transferred Mr. Patel to home confinement in April 2020
                 after finding that he posed a minimal risk of reoffending.

         In March 2020, in response to the COVID-19 public health emergency,

  Congress enacted the Coronavirus Aid, Relief, and Economic Security Act (CARES

  Act). PL 116-136, Mar. 27, 2020, 134 Stat. 281. Among other things, the CARES Act

  authorized the Director of the BOP to “lengthen the maximum amount of time for

  which the Director is authorized to place a prisoner in home confinement” under 18

  U.S.C. § 3624(c)(2). In a memorandum to the Director of the BOP, the Attorney

  General conveyed that “in assessing which inmates should be granted home

  confinement,” the agency should “consider the totality of the circumstances for each

  individual inmate, the statutory requirements for home confinement, and [a] non-

  exhaustive list of discretionary factors” that included the individual’s specific:

         (i)     age and vulnerability to COVID-19;
         (ii)    security level, with priority for low- and minimum-security inmates;
         (iii)   disciplinary record, with priority for those with no violent or gang-
                 related activity and no infractions in the last year;
         (iv)    PATTERN score, with priority for those with a minimum score;
         (v)     re-entry plan; and
         (vi)    offense and potential danger to the community.




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  Attorney General Memorandum3, Mar. 26, 2020 (hereinafter “AG 2020 Memo”).

        Applying this “aggressive[]” screening process, the BOP determined that

  Mr. Patel qualified for home confinement.4 On April 24, 2020, the BOP transferred

  him to Cherry Health Community Treatment Center, a Detroit Residential Reentry

  Management Center (RRM) that would oversee his home confinement. At the time of

  the transfer, the BOP took the position that CARES Act recipients would remain on

  home confinement for the duration of their sentences unless they violated the RRM’s

  written rules. See infra, Sections II.A.2 and II.A.4. Neither the BOP nor the RRM

  informed Mr. Patel that he would be returned to a correctional facility when the

  pandemic ends. (See Exhibit H – Cherry Health GPS Agreement; Exhibit I – BOP

  Conditions of Home Detention; Exhibit J – BOP Transfer Documents.)

        C.     Mr. Patel has fully complied with the strict conditions of home
               confinement for the past 17 months.

        Mr. Patel lives with his wife in Canton, Michigan. As a general matter, he cannot

  leave his home, even to go on a walk, without prior written approval. He spends his

  time at home caring for his wife, who has multiple serious medical issues, including

  aortic valve regurgitation and stenosis, bicuspid aortic valve, hypertension, diabetes,

  osteoporosis, kidney stones, class one obesity, high cholesterol, and thyroid disorder.

  (See Exhibit K – Mrs. Patel Medical Documents (sealed).) For her conditions, Mrs. Patel


  3
    The AG March 2020 Memo is available at “Prioritization of Home Confinement as
  Appropriate in Response to COVID-19 Pandemic.”
  4
    See Bureau of Prisons, Update on COVID-19 and Home Confinement, Apr. 5, 2020.

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  takes approximately ten different medications each day. Id. Mr. Patel takes care of all

  the household chores and daily living tasks for his wife, including cooking and cleaning.

  Mr. Patel cannot, however, take care of tasks outside of the home. He cannot go grocery

  shopping or run other errands. He has only recently been permitted to accompany his

  wife to her medical appointments, if he can apply for and receive an approved pass in

  time. Mr. Patel was permitted to attend religious services after a year of perfect

  compliance. He is not permitted to attend family gatherings.

        Mr. Patel is motivated to secure employment so that he can begin making

  restitution payments. His employment search has been restricted by the rules of home

  confinement and the RRM. Mr. Patel must request passes 48 hours in advance for any

  outing. (See Exhibit H – Cherry Health GPS Agreement.) This rule has proved an

  impediment to his acceptance of employer-scheduled job interviews, physicals, drug

  tests, and even first days of multiple job opportunities – all of which Mr. Patel reports

  he is often notified only 24 to 36 hours in advance. On the occasions Mr. Patel has

  overcome these hurdles and managed to secure a job, the rule that the RRM must verify

  and approve the employment has kept Mr. Patel from showing up for his first day of

  work. 5 (Exhibit L – Letter from Global Recruiters Branch Manager.) Mr. Patel’s

  employment search is also narrowed by two personal factors: first, he seeks “third shift”


  5
    Mr. Patel’s RRM case manager recently informed undersigned counsel that the RRM
  recently lost both Employment Specialists on site, meaning there is currently no one in
  those job roles at Cherry Health, and the responsibility for employment verification and
  approval has apparently shifted to the case managers until those jobs are filled.

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  employment so that he can still care for his wife during the day; second, he has chronic

  back pain and thus cannot pursue jobs involving strenuous physical labor.

        Over the last several months, Mr. Patel has had approximately six job interviews,

  four of which resulted in employment offers. Mr. Patel was not able to appear to work

  at any of those four jobs, however, due to the RRM not approving his employment in

  time. Recently, with the assistance of undersigned counsel, Mr. Patel attended a job

  interview, made it to the required physical and drug test, and is hopeful he will receive

  an offer. He will again bring this offer to the RRM to verify and approve his

  employment in time for his first day of work.

        Despite the restrictions on his activities and daily life, Mr. Patel has managed to

  achieve some modicum of stability and positive reentry. For example, he requested and

  received special permission from his RRM Supervisor to take three walks per week

  around his neighborhood, because he recognized this would benefit Mrs. Patel’s health

  and his own. As mentioned above, he recently obtained permission to request passes

  to accompany his wife to her medical appointments (he previously could only request

  passes for his own medical appointments). And perhaps most importantly, Mr. Patel

  has exhibited perseverance and persistence in his efforts to obtain employment despite

  the many hurdles the RRM imposes.

        D.     Mr. Patel has exhausted his administrative remedies.

        Mr. Patel submitted a pro-se written request for a reduced sentence to the

  Warden of FCI Terre Haute. ECF No. 1705, PageID.22018. On March 17, 2021, the

                                             7
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  Warden responded denying Mr. Patel’s request for a Reduction in Sentence. Id.,

  PageID.22021. Because more than 30 days have passed since Mr. Patel submitted the

  request, and because the BOP denied his request, this Court is authorized to consider

  his motion for compassionate release. 18 U.S.C. § 3582(c)(1)(A).

         E.     Mr. Patel does not qualify for the Biden-Harris Expedited Clemency
                Program.

         In August 2021, President Biden’s Office of Legal Counsel at the Justice

  Department announced that it agreed with a Trump-era memorandum, opining that the

  thousands of prisoners who had been released on CARES Act home confinement

  would be required to return to prison at the end of the “pandemic emergency period.”6

  The conclusion drew criticism and calls to action by both Democratic and Republican

  lawmakers, with some suggesting commutation of those individuals’ sentences as a way

  around the legal interpretation that the law would send individuals back to prison.

         In response, the Biden Administration created an expedited clemency review

  process for individuals on home confinement under the CARES Act. White House

  Spokesperson Andrew Bates announced the general criteria of the expedited process:

  “The Administration will start the clemency process with a review of non-violent drug

  offenders on CARES Act home confinement with four years or less to serve.” 7



  6
    Charlie Savage & Zolan Kanno-Youngs, Biden Legal Team Decides Inmates Must Return to
  Prison After Covid Emergency, N.Y. TIMES (July 19, 2021).
  7
    Sam Stein, Biden starts clemency process for inmates released due to Covid conditions, POLITICO
  (Sept. 13, 2021).

                                                 8
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         On September 10, 2021, the Department of Justice circulated a Memorandum

  with a list of inmates it had identified who met the criteria – that they were non-violent

  offenders and that they had 48 months or less remaining to serve -- who may be

  considered for expedited clemency. See Exhibit E – DOJ Clemency Memo to RRMs.

  Those individuals – and “only” those individuals (id.) – would be invited to submit their

  clemency application, through their RRM counselor, for expedited review.8

         This expedited commutation process excludes Mr. Patel. Although he is a non-

  violent offender released on home confinement under the CARES Act, he does not

  have 18 to 48 months left to serve.9 Mr. Patel has 52 months remaining on his sentence

  – four months more than the 48-month cutoff required to be considered for expedited

  clemency review. His case manager at the Detroit RRM confirmed for undersigned

  counsel that Mr. Patel is not on the circulated list of individuals who qualify for expedited

  commutation.

         Outside of the expedited clemency review project, the Office of the Pardon

  Attorney (OPA) reports more than 11,000 pending applications for commutation.10 In

  evaluating commutation requests, the OPA states: “The possibility that the Department

  itself could accomplish the same result by petitioning the sentencing court, through . .



  8
    There is no indication from the administration that there will be another list or another
  round of individuals identified for expedited clemency review
  9
    The expedited clemency review project Memo does not specify whether non-violent
  offenders with both non-drug and drug counts of conviction are eligible for relief.
  10
     DEPT. OF JUSTICE, Clemency Statistics (updated Sept. 21, 2021).

                                               9
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  . a request for compassionate reduction in sentence under 18 U.S.C. Section 3582(c)(1),

  will also bear on the decision whether to recommend Presidential intervention in the

  form of clemency.” 11 As such, petitioning this Court is Mr. Patel’s best avenue for relief.

        II.      ARGUMENT

              Section 3582(c)(1)(A), as amended by the First Step Act of 2018, vests this Court

  with the authority to reduce a sentence if: (1) the defendant presents “extraordinary and

  compelling reasons” warranting a sentence reduction; (2) a reduction would be

  consistent with “applicable policy statements” issued by the Sentencing Commission;

  and (3) the § 3553(a) sentencing factors merit a reduction. As the Sixth Circuit has held,

  however, there is currently no applicable policy statement governing § 3582(c)(1)(A)

  motions filed by defendants. United States v. Jones, 980 F.3d 1098, (6th Cir. 2020). “Until

  the Sentencing Commission updates § 1B1.13 . . ., district courts have full discretion . .

  . to determine whether ‘an extraordinary and compelling’ reason justifies a

  compassionate release when an imprisoned person files a § 3582(c)(1)(A) motion.” Id.

  at 1109. See also United States v. McCoy, 981 F.3d 271, 284 (4th Cir. 2020); United States v.

  Long, 997 F.3d 342 (D.C. Cir. 2021); United States v. Shkambi, 993 F.3d 388 (5th Cir.

  2021); United States v. Aruda, 993 F.3d 797 (9th Cir. 2021); United States v. McGee, 992

  F.3d 1035 (10th Cir. 2021); United States v. Gunn, 980 F.3d 1178 (7th Cir. 2020).




  11
       JUSTICE MANUAL, § 9-140.113, “Standards for Considering Commutation Petitions.”

                                                 10
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  A combination of factors in Mr. Patel’s case presents extraordinary and compelling

  reasons for relief.

         A.     Mr. Patel Presents “Extraordinary and Compelling Reasons” For a
                Reduction to Time Served Under 18 U.S.C. § 3582(c)(1)(A).

                1. Mr. Patel’s selection as a CARES Act recipient is extraordinary.

         The selection of Mr. Patel as a CARES Act recipient, for which the BOP engaged

  in an “aggressive[]”screening process, is evidence of the agency’s determination that he

  poses an extremely low risk of reoffending. See AG 2020 Memo. Following the criteria

  outlined by the AG 2020 Memo, the BOP considered “the totality of the

  circumstances” that included Mr. Patel’s age, vulnerability to COVID-19, security level,

  disciplinary record, PATTERN score, re-entry plan, offense conduct, and potential

  danger to the community. Id.

         The totality of these factors as to Mr. Patel clearly favored release. He is nearly

  60 years old, an age at which recidivism is low and COVID complications are high.

  Recidivism rates drop significantly with age. 12 Meanwhile, Mr. Patel’s age group has

  four times the rate of hospitalization from a COVID infection, and thirty times the rate

  of death.13 In addition to his age vulnerability, Mr. Patel suffered from hyperlipidemia,




  12
     U.S. SENTENCING COMM’N, The Effects of Aging on Recidivism Among Federal Offenders
  (Dec. 7, 2017).
  13
     CDC, “Risk for COVID-19 Infection, Hospitalization, and Death by Age Group”
  (updated Sept. 9, 2021).

                                             11
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  pre-diabetes, and thyroid disorders, including nodules with potentially cancerous

  tissues. (Exhibit C – BOP Health Problems List.)

        Mr. Patel’s risk assessments routinely assigned him a “minimum” risk level – the

  lowest possible level. (Exhibit F – BOP Risk Level.) He had no disciplinary infractions

  since the incident that occurred two months into his incarceration at FDC Milan.

  Finally, Mr. Patel’s reentry plan included living at home with his wife, who has serious

  medical conditions herself.

        Given the rigorous standards adopted by the BOP, Mr. Patel’s selection for home

  confinement was extraordinary. Of the entire BOP population, only about 2.7% were

  ultimately selected for transfer to home confinement under the CARES Act.14

               2. The BOP’s intent that Mr. Patel and other CARES Act transfers
                  serve the “remainder” of their sentence on home confinement is
                  compelling.

        BOP representatives have repeated in the halls of Congress and in district courts

  that it intended prisoners released to home confinement to remain there for the rest of

  their sentence. In testimony before Congress, the Director of the BOP, Michael D.

  Carvajal, twice confirmed that last year’s recipients of transfers to home confinement

  under the CARES Act would remain there “for service of the remainder of their




  14
     The BOP currently reports a total population of 155,826. See BOP Population
  Statistics (updated October 1, 2021). BOP Director Carvajal reported that roughly 4,300
  individuals were on CARES Act Home Confinement as of April 2021. See Statement of
  Michael D. Carvajal Before the Senate Judiciary Committee, April 15, 2021.

                                            12
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  sentences.” 15 And in at least one district court proceeding, the BOP explained that one

  reason it chose to place individuals on CARES Act home confinement was to avoid the

  uncertainty of “temporary, but indeterminate, release[s], because nobody can be sure

  when the pandemic will end.” See United States v. Bayard, No. 18-cr-0771, Govt. Letter

  Brief, Att. 1, ECF No. 34-1 (S.D.N.Y. July 23, 2020).

         Similarly, the Attorney General’s March 2020 memo to the BOP does not

  contain any suggestion that CARES Act recipients would be returned to prison

  following the pandemic. See AG 2020 Memo. Instead, the memo contemplates an

  extension of home confinement—the traditional final step in the release process:

  “Inmates transferred to home confinement under this prioritized process should also

  be subject to location monitoring services and, where a court order is entered, be subject

  to supervised release.” Id.

         Likewise, the government has taken the position in compassionate release

  litigation that a transfer to home confinement obviated a defendant’s compassionate

  release request because he would remain at home for the duration of his sentence. For

  example, in United States v. Levi, the government argued to the district court that the

  BOP could not “arbitrarily and without cause” re-incarcerate the defendant because

  home confinement exists to allow former inmates “to adjust and prepare for [their] re-


  15
    Statement of Michael D. Carvajal and Dr. Jeffery Allen Before the Senate Judiciary
  Committee, at 6 (June 2, 2020); Statement of Michael D. Carvajal Before the House
  Committee on the Judiciary Subcommittee on Crime, Terrorism, and Homeland
  Security, at 6 (Dec. 2, 2020).

                                             13
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  entry into the community.” United States v. Levi, 04-0235 (D. Kan.) ECF No. 2033-2, at

  1-2 (citing BOP Program Statement 7320.01, CN-2(1)(c)). In further support of its

  position, the government submitted the declaration of Susie Morseman, Regional

  Correctional Programs Administrator for the BOP’s Mid-Atlantic Regional Office,

  which stated: “[I]nmates transferred to home confinement pursuant to the CARES Act

  will remain on home confinement for the duration of their sentence.” Levi, ECF No.

  2033-3. Ms. Morseman added that although “the Bureau has the authority to transfer

  inmates back into a Bureau facility, there [was] no intent to do so, unless the terms of

  home confinement are violated.” Id.

         Other district courts have soundly rejected the government’s argument that

  home confinement obviates the need for compassionate release. These courts note that

  a defendant on home confinement remains within the BOP’s legal custody until the

  expiration of his term. 18 U.S.C. § 3624(c)(2); see United States v. Williams, No. 90-0135,

  ECF No. 1307 at 11-12 & n.14 (D. Md. Mar. 12, 2021) (granting compassionate release

  for defendant on CARES Act home confinement over government’s objection to relief

  and “conten[tion] that Mr. Williams’s transfer to home confinement ‘resolves any issues

  related to [his] continued confinement in a prison environment’”); United States v. Findley,

  No. 17-0315, ECF No. 51 at 1 n.3 (D. MD. Jan. 29, 2021) (granting compassionate

  release for defendant on CARES Act home confinement, noting that “[defendant]

  remains within the BOP’s legal custody and is subject to being returned to a prison

  facility”); United States v. Hope, 2018 WL 358490, at *4 (D. Mont. Jan. 10, 2018) (same).

                                              14
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        Recognizing that home confinement does not terminate one’s “confinement,”

  district courts have granted compassionate release to CARES Act recipients. See, e.g.,

  United States v. Busby, 16-cr-0211, ECF No. 133 (N.D. Tex. Apr. 20, 2021)16; United States

  v. Salvagno, 02-cr-0051 (N.D.N.Y. Aug. 5, 2020); United States v. Gamboa, 09-cr-1741

  (D.N.M. June 11, 2020); United States v. Camp, 11-cr-0155 (E.D.N.C. June 21, 2019);

  see also United States v. Levi, 04-cr-0235-29, ECF No. 2085 (D. M.D. July 6, 2021)

  (reducing sentence to time served for defendant who had been transferred to home

  confinement under the CARES Act but was subsequently returned to custody on an

  alleged minor violation of release conditions).

        Finally, the paperwork provided to Mr. Patel upon his transfer to home

  confinement is consistent with all of the statements by BOP staff discussed above. The

  documents indicate only that Mr. Patel could be returned to a prison facility if he

  violates the rules of his home confinement. (See Exhibit H – Cherry Health GPS

  Agreement; Exhibit I – BOP Conditions of Home Detention; Exhibit J – BOP Transfer

  Documents.) They provide no notice from which to infer that Mr. Patel would be

  returned to custody at the end of the pandemic emergency period. Id.


  16
    In Busby, the government opposed compassionate release on the sole ground that the
  defendant’s motion was moot because the BOP had directed him to serve the remainder
  of his sentence on home confinement. The court held: “[T]he remaining portion of
  Defendant’s 78-month custodial sentence remains intact. The BOP’s home-
  confinement designation only means that Defendant is permitted to serve the remaining
  portion of his [] sentence at home under the supervision of the BOP. Still, should he
  violate the terms of his home confinement, the BOP could rescind the designation and
  re-incarcerate him.” ECF No. 133, at 2-3.

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                3. Mr. Patel’s 17-month record of success outside prison is
                   compelling.

         The exceptionally low rate of recidivism among CARES Act recipients is

  evidence of the BOP’s success in identifying appropriate federal inmates to transfer to

  home confinement. In testimony before Congress, BOP Director Carvajal stated that

  only one of the roughly 4,300 individuals designated for home confinement under the

  CARES Act had committed a new crime.17 Mr. Patel was not that individual.

         Quite the opposite: Mr. Patel has not violated one rule or had any negative

  encounter with RRM staff since his release 17 months ago. Instead, he has dutifully

  cared for his wife since his release, easing the burden of household chores. His good

  behavior allowed him privileges such as attending temple and establishing a walking

  routine with his wife – activities that sound simple but are only available to individuals

  in good standing with the RRM. Mr. Patel attends regular meetings with his RRM case

  manager and hosts her for home visits once per month “for accountability tracking.”

         Mr. Patel’s success in acclimating to life outside prison walls is not surprising

  considering that home confinement is designed for the “final months” of a person’s

  sentence and not as a “temporary” reprieve within one’s term. 18 U.S.C. § 3624(c)(1);

  United States v. Mungin, 97-cr-1105, 2020 WL 2847927, at *2 (S.D.N.Y. June 2, 2020); see

  also, e.g., United States v. Ogarro, 18-cr--0373, 2020 WL 1876300, at *6 (S.D.N.Y. Apr. 14,



  17
    Statement of Michael D. Carvajal Before the Senate Judiciary Committee, April 15,
  2021.

                                              16
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  2020) (§ 3524(c)(2) gives the BOP authority “to permit prisoners to finish the remainder

  of their sentence in home confinement”); United States v. Ramirez-Ortega, 11-cr-0251,

  2020 WL 4805356, at *3 (E.D. Pa. Aug. 18, 2020) (“[T]he CARES Act expanded the

  authority of the ]BOP] to transfer federal inmates to home confinement to serve the

  remainder of their sentence.”).

               4. It is extraordinary and compelling that the DOJ’s current policy
                  requires the BOP to return Mr. Patel to prison within 30 days of
                  the pandemic’s end.

        On January 15, 2021, the Department of Justice Office of Legal Counsel

  (“OLC”) released a memorandum stating that when the pandemic ends, the BOP must

  return to prison all CARES Act recipients who otherwise do not qualify for home

  confinement under § 3624(c)(1). Slip Opinion: Home Confinement of Federal

  Prisoners After the COVID-19 Emergency, Jan. 15, 2021. It concludes that the CARES

  Act authorized the extended use of home confinement only for the duration of the

  “covered emergency period,” defined as “the period beginning on the date on which

  the President declared a national emergency” and “ending on the date that is 30 days

  after the date on which the national emergency declaration terminates.” Sec. 12003(a).

        Following the OLC memo, the government has acknowledged the change in

  DOJ policy, agreeing that within 30 days of the pandemic’s end, the BOP will return to

  physical custody any person on home confinement who does not otherwise qualify for

  the program. See United States v. Calhoun, No. 08-cr-0077, ECF No. 505 (S. D. Miss. May

  14, 2021) (granting motion for compassionate release in case where government

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  “concede[d]” defendant would be returned to prison “pending policy decisions from

  the Department of Justice”).; see also Williams, 90-cr-0135, ECF No. 1307 at 12 n.14

  (noting that the defendant, who was not “otherwise eligible for home confinement,”

  would be returned to BOP custody once the covered emergency period ends).

        Thus, after the pandemic, because Mr. Patel does not qualify for home

  confinement under § 3624, he will be re-incarcerated in a BOP correctional facility. Per

  the OLC Memo, his re-incarceration is not a matter of discretion. It is mandatory,

  regardless of Mr. Patel’s compliance with every condition placed on him and without

  regard to the familial responsibilities he has borne over the past 17 months.

               5. Mr. Patel’s return to prison would irreparably damage the
                  renewed family, employment, and community ties he has built
                  over the past year

        Mr. Patel’s successful reentry following prison is well underway. Forcing Mr.

  Patel to return to a correctional facility after the pandemic would irreparably damage

  the renewed family, employment, and community ties he has built over the past 17

  months. As discussed above, Mr. Patel does as much as allowed under the RRM rules

  to care for his wife, including cooking, cleaning, laundry, and all daily in-home tasks.

  He has had success obtaining employment offers, but the RRM’s failure to verify and

  approve those jobs has kept Mr. Patel from actually working. See Exhibit L – Letter

  from Global Recruiters Branch Manager. See also supra, Section I.C.

        In addition to damaging Mr. Patel’s reentry, re-incarceration following the

  pandemic may constitute a violation of his due process rights. The Supreme Court has

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  recognized that a person has a constitutional right not to be transferred to a more

  restrictive confinement setting if it imposes an “atypical and significant hardship on the

  inmate in relation to the ordinary incidents of prison life.” Sandin v. Conner, 515 U.S.

  472, 484 (1995). And federal appeals courts have held that the disparity between home

  confinement and confinement in a correctional facility is stark enough to trigger the

  Due Process Clause. See Ortega v. U.S. Immigration and Customs Enforcement, 737 F.3d 435,

  439 (6th Cir. 2013) (“[T]ransfer from home confinement to prison confinement . . .

  amounts to a sufficiently severe change in conditions to implicate due process.”); Paige

  v. Hudson, 341 F.3d 642, 643 (7th Cir. 2003) (transferring probationer from home

  confinement to jail constitutes “sufficiently large incremental reduction in freedom to

  be classified as a deprivation of liberty” to trigger due process). This is because despite

  all the ways in which home confinement is a sentence of “confinement,” it is decidedly

  different than being locked inside a government-run facility. “[U]nlike institutional

  confinement of any kind,” home confinement allows participants “to live with their

  loved ones, form relationships with neighbors, lay down roots in their community, and

  reside in a dwelling” rather than a cell. Gonzales-Fuentes, 607 F.3d at 890. “A prison cot

  is not the same as a bed, a cell is not the same as a home, from every vantage point:

  privacy, companionship, comfort. And the privileges available in each are worlds apart.”

  Ortega, 737 F.3d at 439. Indeed, even the BOP recognizes that a person’s placement on




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  home confinement is a protected liberty interest that demands due process protections

  before it is terminated.18

         For these reasons, Mr. Patel has established extraordinary and compelling

  reasons his sentence should be reduced.

         B.     A Time-Served Sentence is “Sufficient, But Not Greater Than
                Necessary” to Accomplish the Goals of Sentencing Under § 3553(a)

         Under § 3582(c)(1)(A), when a defendant establishes the existence of

  extraordinary and compelling circumstances justifying relief, courts must consider the

  relevant §3553(a) factors to determine whether, and to what extent, a sentence

  reduction is warranted. Under Pepper v. United States, 562 U.S. 476 (2011), courts must

  also consider post-offense developments, which provide “the most up-to-date picture”

  of the defendant’s history and characteristics. Id. at 492. After considering all of the

  circumstances in this case—including Mr. Patel’s non-violent conduct, rehabilitative

  progress, and low risk of recidivism—this Court should conclude that a time-served

  sentence is “sufficient but not greater than necessary” to satisfy the purposes of

  sentencing under § 3553(a).

         Mr. Patel’s offenses, while certainly serious, were non-violent. Mr. Patel was

  never known to be armed or display any violent tendencies. Importantly, he had no



  18
    See BOP Program Statement 7320.01, Home Confinement, at 6 (Sept. 6, 1995)
  (updated and reissued Dec. 15, 2017); BOP Program Statement 5270.09, Inmate
  Discipline Program (July 8, 2011) (updated and reissued Nov. 18, 2020); 28 C.F.R. §
  541.3.

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  prior criminal history and has aged considerably since the time of his convictions. All

  of Mr. Patel’s co-defendants have been released; for more than two years, Mr. Patel has

  remained the only individual still in BOP custody, and he is set to remain so until 2026.

         During his time in prison, Mr. Patel had but one infraction. (Ex. A.) Overall, he

  productively used his time in custody, working as an orderly, and taking programs

  related to health and wellness. (Ex. B.) His conduct on home confinement has been

  without incident.

         As to recidivism, the BOP already has applied an “aggressive” set of criteria to

  determine that Mr. Patel poses an extremely low risk. See United States v. Privette, No. 07-

  cr-0133 (E.D.N.C. Oct. 10, 2019) (“[T]hat Privette was deemed eligible to be released

  to home confinement demonstrates that the BOP does not consider him to be a danger

  to the community.”) The fact that Mr. Patel has successfully abided by all conditions of

  confinement over the last 17 months reinforces the accuracy of the BOP’s assessment,

  especially considering that the agency has re-incarcerated CARES Act recipients even

  for violating low-level or technical rules.19

         Upon transfer from federal prison to the Detroit RRM, Mr. Patel’s RRM case

  manager evaluated him using a series of validated assessment tools.20 Mr. Patel scored


  19
     See, e.g., Justin Moyer and Neena Satija, A grandmother didn’t answer her phone during a
  class. She was sent back to prison, The Washington Post (June 26, 2021); Jamie Roth,
  COVID allowed Raquel Esquivel and 4,500 others to be released from overcrowded federal prisons.
  So why is she back behind bars?, Business Insider (Aug. 13, 2021).
  20
     Perversely, the treatment recommendations identified at the end of Mr. Patel’s RRM
  report include that he “will successfully release from the RRC program.” Ex. G at 7.

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  in the lowest category, “No Risk or Stable” on each dimension of the assessments,

  except his biomedical conditions and complications. (Exhibit G – RRM Intake

  Assessment (sealed).) During that assessment, just 72 hours after being released from

  prison, Mr. Patel told his case manager he would like to find employment. Id. at 4. He

  has worked persistently, despite numerous hurdles, to obtain employment. He would

  like to remain employed and productively living in the community, rather than return

  to prison only to disrupt the progress he has gained while on home confinement.

        Finally, even after Mr. Patel’s custodial time ends, he will immediately begin a

  three-year term of supervised release under this Court’s supervision. During that period,

  if Mr. Patel fails to abide by any standard or special condition of supervised release, he

  may be subject to an additional sentence of incarceration and an additional term of

  supervised release.

                                     CONCLUSION

        For the extraordinary and compelling reasons presented here—including the

  BOP’s determination that Mr. Patel posed a minimal risk of reoffending and could be

  safely returned to the community, the BOP’s intent that CARES Act recipients serve

  the remainder of their terms on home confinement if they complied with the rules, Mr.

  Patel’s full compliance with the rules during the past 17 months of home confinement,

  and the damage that re-incarceration would inflict on his rehabilitative progress, family

  relationships, and community ties—Mr. Patel respectfully requests that this Court grant

  compassionate release by reducing his sentence to time served.

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                              CERTIFICATE OF SERVICE

         I certify that the foregoing document was filed this date using the CM/ECF
                   system which will send notification to all parties of record.

                                     s/Jennifer Mellas
                                         Paralegal



                                          Respectfully submitted,

                                          FEDERAL COMMUNITY DEFENDER

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